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19                           UNITED STATES DISTRICT COURT
20                        NORTHERN DISTRICT OF CALIFORNIA
21                                    SAN FRANCISCO DIVISION
22
     RICHARD DENT, et al.,                           Case No.: 3:14-CV-02324-WHA
23
                        Plaintiffs,                  DEFENDANT NATIONAL FOOTBALL
24                                                   LEAGUE’S RESPONSE TO COURT’S
                  v.                                 DECEMBER 2 REQUEST FOR
25                                                   SUPPLEMENTAL BRIEFING
     NATIONAL FOOTBALL LEAGUE,
26                                                   Date:      December 2, 2021
                        Defendant.                   Time:      8:00 a.m.
27                                                   Courtroom: 12 (19th Floor)
                                                     Judge:     Honorable William Alsup
28

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 1         The National Football League (“NFL”) submits this response to the Court’s December 2,
 2 2021 request to address a question that may aid the Court in its analysis of the issues raised in the

 3 NFL’s pending Motion for Summary Judgment and plaintiffs’ opposition.

 4         This Court asked, “[t]o what extent can the CBA override state negligence law” when “the
 5 state law says – and this is hypothetical – if the player is hurt bad enough that he needs painkillers,

 6 it is negligent per se to give him painkiller and go out on the field,” and “the collective bargaining

 7 agreement has a different provision that says that the Union and the League and the Clubs all agree

 8 that the teams can return a player to the field to play even when they’re hurt and even with the

 9 benefit of painkiller drugs when, in the judgment of the . . . team physician, it is safe to do so, and
10 the player signs a written release?” Hr’g Tr. at 20:11-14; 20:24-21: 5; 21:23-24 (Dec. 2, 2021).

11         The short answer to the Court’s question is yes—parties to a CBA may agree to a standard
12 of care that overrides state negligence law where, as in the case of the Court’s hypothetical, the

13 CBA waives the negligence per se standard established by the hypothetical law. “It is well settled

14 that a union may lawfully waive statutory rights of represented employees in a collective

15 bargaining agreement.” Am. Freight Sys., Inc. v. NLRB, 722 F.2d 828, 832 (D.C. Cir. 1983); see

16 also Livadas v. Bradshaw, 512 U.S. 107, 125 (1994) (noting union may “bargain away [employee]

17 protections under” state law); Young v. Anthony’s Fish Grottos, Inc., 830 F.2d 993, 1001 (9th Cir.

18 1987) (holding “a union can waive the right of a probationary employee to the protection of

19 California’s implied covenant tort”); Cramer v. Consol. Freightways, Inc., 255 F.3d 683, 694 (9th

20 Cir. 2001) (acknowledging that rights of privacy under California law may be “subject to

21 negotiation” and “conditioned by the terms of a CBA”); Hall v. Live Nation Worldwide, Inc., 146

22 F. Supp. 3d 1187, 1202 (C.D. Cal. 2015) (holding CBA “waives the protections” of state wage

23 payment law by “establish[ing] alternate terms for final wage payments”); Ehret v. WinCo. Foods,

24 LLC, 26 Cal. App. 5th 1, 10 (2018) (finding that a CBA waived the statutory right to a meal break).

25         Because the Court’s hypothetical law exclusively applies to unionized football players
26 covered by CBAs, it is not the type of “generally applicable” minimum labor standard that courts
27 have held to be beyond labor negotiations. Livadas, 512 U.S. at 123 n.17. Therefore, the parties

28 would be free to negotiate a standard of care that overrides the negligence per se standard imposed
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 1 by the hypothetical law and permit players to return to the field when the Club physician

 2 determines it is safe to do so. See, e.g., Espinoza v. Cargill Meat Sols. Corp., 622 F.3d 432, 442

 3 (5th Cir. 2010) (noting unions are “allowed a great deal of flexibility . . . to waive some employee

 4 rights, even the employee’s individual statutory rights”). That is precisely the case here, where, at

 5 least since 1980, the undisputed record is that the NFL and the NFL Players Association have

 6 agreed that all player medical care decisions, including whether and under what circumstances

 7 players are returned to play following injury, must be made exclusively by qualified Club

 8 physicians whose obligations are solely to their player-patients. See Dkt. No. 194 at 7-10; Dkt. No.

 9 204 at 1-4.
10          Regardless of whether a CBA provision could override the Court’s hypothetical state law
11 negligence standard, the existence of such a law would not alter the fact that here, plaintiff’s sole

12 remaining claim—no longer based on a claim of a violation of a statute but solely on a theory of

13 negligent voluntary undertaking by the NFL—is preempted under Section 301 of the Labor

14 Management Relations Act (“LMRA”). “Whether a union may waive its members’ individual,

15 nonpre-empted state-law rights, is, . . . a question distinct from that of whether a claim is pre-

16 empted under § 301.” Lingle v. Norge Div. of Magic Chef, Inc., 486 U.S. 399, 409 nn.9-10 (1988).

17 Thus, even where a state law imposes a “nonnegotiable” standard that cannot be waived, Section

18 301 will preempt a claim where resolution of the claim is “substantially dependent” on the

19 interpretation of the collective bargaining agreement. Allis-Chalmers Corp. v. Lueck, 471 U.S.

20 202, 213 (1985); see also Burnside v. Kiewit Pac. Corp., 491 F.3d 1053, 1066 (9th Cir. 2007)

21 (“[T]he fact of nonnegotiability alone is not a talisman for determining preemption.”); Brown v.

22 Brotman Med. Ctr., 571 F. App’x 572, 576 (9th Cir. 2014) (LMRA preempted whistleblower claim

23 based on workplace safety statute that did “not require an employer to take all conceivable steps to

24 ensure safety”).

25          Here, as explained in the NFL’s summary judgment briefing, plaintiffs’ sole remaining
26 claim cannot be decided without interpreting the applicable CBAs to determine both the scope of
27 the NFL’s alleged “voluntarily assumed” duty and whether the NFL breached that duty by

28 unreasonably failing to “protect players” from the Clubs and Club physicians’ alleged medication
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 1 practices. Dkt. No. 204 at 8 (quoting Dent v. Nat’l Football League, 968 F.3d 1131, 1132 (9th Cir.

 2 2020) (“Dent II”)); Dkt. No. 194 at 8-9. The Court’s hypothetical law, which would impose a

 3 standard of care not on the NFL, but on the Club physicians who prescribe medications and decide

 4 whether players are medically cleared to return to play, would not eliminate the need to interpret

 5 the CBAs to determine what duty, if any, the NFL assumed and whether the NFL acted reasonably

 6 in carrying out that duty. See Dkt. 106 at 13-14 (“[B]ecause the CBAs expressly and repeatedly

 7 allocate so many health-and-safety duties to the clubs [and Club physicians], the CBAs can fairly

 8 be interpreted, by implication, to negate any such duty at the league level.”).1 Accordingly,

 9 regardless of whether a state law standard imposed return-to-play rules on the Club physicians,
10 plaintiffs’ voluntary undertaking claim would remain preempted. See Int’l Bhd. of Elec. Workers v.

11 Hechler, 481 US 851, 863 (1987) (finding employee negligence claim against union preempted

12 where the extent of any duty owed to the employee by the union could be ascertained only by

13 interpreting the various provisions in the collective bargaining agreement addressing workplace

14 safety issues).

15         For this reason, the Court’s hypothetical raises issues fundamentally different from those
16 addressed by the Ninth Circuit in Dent v. Nat’l Football League, 902 F.3d 1109 (9th Cir. 2018)

17 (“Dent I”), where the Court considered whether plaintiffs’ negligence per se claim was preempted.

18 This case no longer concerns allegations that the NFL violated a statute. To the contrary, as this

19 Court recognized, plaintiffs’ negligence per se theory failed because they “d[id] not allege that the

20 NFL itself violated the relevant drug laws and regulations governing the medications at issue.”

21
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              Moreover, a finding that claims were not preempted based on a hypothetical California
22 law would frustrate the very purpose of Section 301 preemption; “[t]he possibility that individual
   contract terms might have different meanings under state and federal law would inevitably exert a
23 disruptive influence upon both the negotiation and administration of collective agreements.” Dkt.
   106 at 4 (quoting Teamsters v. Lucas Flour Co., 369 U.S. 95, 104 (1962)). Precluding the NFL
24 and Clubs from relying on Club physicians’ return-to-play decisions in some states but not others
   might lead to an incongruous result in the game of football. Clubs in one state could return players
25 to the field when a Club physician judges it safe to do so. Other Clubs—subject to the hypothetical
   law—would be incentivized never to return injured players to the field, no matter the
26 recommendation of Club physicians. As a result of such an inconsistent rule, Clubs in different
   states would be required to follow different safety protocols, and players on teams unaffected by
27 the hypothetical law would have more playing time and more opportunities to qualify for bonuses
   and other benefits of playing provided by the CBA. Congress did not intend such “inconsistent
28 local rules” to “prevail over” federal labor law. Id. (quoting Teamsters, 369 U.S. at 104).
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 1 Dkt. No. 135 at 7. The Ninth Circuit agreed that without “facts that tether the alleged statutory

 2 violations to any concrete actions of the NFL,” plaintiffs’ negligence per se theory failed. Dent II,

 3 968 F.3d at 1131. Indeed, plaintiffs themselves concede that the NFL did not violate any statute or

 4 do anything illegal; “[b]y Plaintiffs’ own admission, the Club doctors and trainers appear to be the

 5 only relevant actors purportedly in violation of statutory requirements.” Id.

 6         In short, although a negligence per se theory based on a defendant’s violation of a statute
 7 may not be preempted under certain circumstances, plaintiffs’ actual negligence theory remaining

 8 in this lawsuit would be substantially dependent on interpretation of the CBAs—and is thus

 9 preempted under Section 301 of the LMRA.
10

11   Dated: December 8, 2021                  By:         /s/ Jack P. DiCanio
                                                             Jack P. Dicanio
12
                                                    Attorneys for Defendant
13                                                  NATIONAL FOOTBALL LEAGUE

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